     Case 3:23-cv-00072 Document 44 Filed on 06/14/24 in TXSD Page 1 of 2
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                            June 14, 2024
                       UNITED STATES DISTRICT COURT
                                                                         Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION
ILDA STEEN, et al.,                     §
                                        §
       Plaintiffs,                      §
                                        §
V.                                      §                 3:23-cv-72
                                        §
MAIDS IN THE USA, et al.,               §
                                        §
       Defendants.                      §
               ORDER ADOPTING MAGISTRATE JUDGE’S
               MEMORANDUM AND RECOMMENDATION

      On June 8, 2023, all pretrial matters in this case were referred to

United States Magistrate Judge Andrew M. Edison under 28 U.S.C.

§ 636(b)(1).    Dkt.    13.   Judge   Edison    filed    a    memorandum          and

recommendation on May 13, 2024, recommending that the defendants’

second motion for summary judgment (Dkt. 26) be granted. See Dkt. 43.

      No    objections    have   been   filed   to      the   memorandum          and

recommendation. Accordingly, the court reviews it for plain error on the face

of the record. 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b)(3).

      Based on the pleadings, the record, and the applicable law, the court

finds that there is no plain error apparent from the face of the record.

Accordingly:

      (1)   Judge Edison’s memorandum and recommendation (Dkt. 43) is
            approved and adopted in its entirety as the holding of the court;
Case 3:23-cv-00072 Document 44 Filed on 06/14/24 in TXSD Page 2 of 2




 (2)   Defendants Clyde Moss and Kandra Moss’s second motion for
       summary judgment (Dkt. 26) is granted; and

 (3)   Summary judgment is also granted in favor of the defendant
       Maids in the USA because the plaintiffs have not shown that
       Maids in the USA is an entity capable of being sued.

 SIGNED on Galveston Island this 14th day of June, 2024.




                                ___________________________
                               JEFFREY VINCENT BROWN
                               UNITED STATES DISTRICT JUDGE




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